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                                                                                                                    EXHIBIT

From: Ron Cook <ronc@newtongov.org>                                                                                        F
Sent: Sunday, August 28, 2022 1:17 PM
To: Rob Burdess <robb@newtongov.org>
Cc: Police LT/SGT <PoliceLT/SGT@newtongov.org>
Subject: Citizen complaint

On 08/28/22 at about 1230 hours Tayvin Galanakis came to the lobby of the police department and
asked to speak with a supervisor because he wanted to make a complaint against Officer Winters. I met
with Galanakis in the lobby and had my BWC recording. He explained that he had been pulled over near
the water tower by Officer Winters for having his high beam headlights on. He said Winters asked him
how much he had to drink and he told Winters he had nothing to drink. Galanakis told him he would
blow right now and Winters responded that he did not want him to blow him. They went to the patrol
car and Winters told him he smelled alcohol. Galanakis said he had not had anything to drink at all. He
said Winters had him stand in the pouring rain to do sobriety tests and during one test he was told to
look up. This caused him to get water on his face, and Winters then asked him why his eyes were
watery. Galanakis said he blew zeros on the machine and then Winters read him his rights and told him
he was on drugs. He said Winters put him in handcuffs and brought him to the police
department. Galanakis said he would like to file a formal complaint. When asked what he would like to
see happen he said he would like to see some sort of discipline, because he was arrested for no reason,
and brought to the police station in cuffs for no reason. I explained the complaint process to him and
gave him a citizen complaint form to complete. Galanakis asked if he could get the video footage of his
arrest and I referred him to the Chief of Police, saying he would have to make that decision.

Case #22-25845 OWI arrest of Tayvin Galanakis
Occurred on 08/28/22 at about 0040 hours


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